TRANSCRIPTORDER FORMYDETIS?- READ INSPRUCTIONS ON PAS? PAGE BEFOREICOMPLETING

District Court Middle District of Louisiana District Court Docket No. 3:22-v-00178

Short Case Tithe Naime v. Landry

ONLY ONE COURT REPORTER PER FORM Court Reporter Shannon L. Thompson, Nalaiie W, Breaux, Gina Delatte-Richard, Teri Norton, Janice Russell
**The Clerk of the District Court confirmed that all court reporters could be placed on one form because all transcripts are already docketed.**

Date Notice of Appeal Filed in the District Court 2/19/2024 Court of Appeals No. 2430135

PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)

A. Complete the Following:

CNo hearings OTranscript is unnecessary for appeal purposes MTranscript is already on file in the Clerk’s Office

OR
Check all of the following that apply, include date of the proceeding.
This is to order a transcript of the following proceedings: DBail Hearing OVoir Dire
L)Opening Statement of Plaintiff LiOpening Statement of Defendant
O Closing Argument of Plaintiff OClosing Argument of Defendant:
LJ Opinion of court OJury Instructions LSentencing
Other proceedings not listed above:
Hearing Date(s) | Proceeding Judge/Magistrate

Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISMISSAL OF APPEAL.

B. This is to certify satisfactory financial arrangements have been made. Method of Payment:

OJPrivate Funds; OCriminal Justice Act Funds (Enter Authorization-24 via eVoucher);

OOther IFP Funds; OAdvance Payment Waived by Reporter; OU.S. Government Funds

KOther
Signature_Zadne em Date Transcript Ordered N/A
Print Name ©arey T Jones _. Phone 225-326-6017 _

Counsel for State of Louisiana

Address 1885 N. Third Street, Baton Rouge, LA 70802

Email of Attorney: JonesCar@ag_louisiana.gov

PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)

Date Transcript Order Date Satisfactory Arrangements Estimated Completion Date | Estimated Number of
Received for Payment were Made Pages

Payment arrangements have NOT been made or are incomplete.

Reason: O)Deposit not received DUnable to contact ordering party DAwaiting creation of CJA 24 eVoucher
ClOther (Specify)

Date Signature of Reporter Tel.

Email of Reporter

Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

This is to certify that the transcript has been completed and filed at the District Court today.

Actual Number of Pages Actual Number of Volumes

Date Signature of Reporter
